Louis Holger. Lawful Money 12 USC §411

dba LOUIS HOLGER EKLUND Inc. BOP#20309-006

Medical Center for Federal Prisoners
P.O. Box 4000
Springfield, Missouri.

65801-4000

In The United States District Court
For The District Of Alaska

We The People Of The
United States,

Louis Holger.
Plaintiffs

VS

Timothy Mark Burgess,

Gary George Colbath,

Jonas M. Walker,

Debora M. Smith,

Sharon L. Gleason,

Bryan Schroder,

William Martin Walker,

Jahna Lindemuth,

Eric A. Aarseth,

Sidney Billingslea,

Rich Curtner,

Cynthia Ann Low,

Carla R. Erickson,

Nicole Norma Stoops,

Karen D, Morrison,

Veronica P. Driskill,

STATE OF ALASKA OFFICE OF
CHILDREN'S SERVICES Inc.,
SEATAC FEDERAL DETENTION CENTER Inc.,
Warden D. Sproul,

Katherine Skillestad-Winans,
UNITED STATES OF AMERICA Inc.,
Donald John Trump,

UNITED STATES MARSHALS Inc.,
United States Marshal Ryan.
et.al.

Defendants.

 

Notice and Claim For Equal Justice Under

The Law For Criminal Violations of: 18 USC
CHAPTER 77. PEONAGE, SLAVERY, AND TRAFFICKING IN
PERSONS §1583 Enticement Into Slavery, §1584 Sale
Into Involuntary Servitude, $1591 Sex Trafficking
Of Children By Force, Fraud Or Coercion;

 

 

 

18 USC CHAPTER 109A SEXUAL ABUSE. §2243 Sexual
Abuse Of A Minor Or Ward, §2244 Abusive Sexual
Contact;

 

18 USC CHAPTER 110 SEXUAL EXPLOITATION AND OTHER
ABUSE OF CHILDREN. §2251 Sexual Exploitation Of
Ghildren, §2251A Selling Or Buying Of Children,
$2258 Failure To Report Child Abuse;

 

 

 

18 USC CHAPTER 117 TRANSPORTATION FOR ILLEGAL
SEXUAL ACTIVITY. §2423 Transportation Of Minors,
§2425 Use Of Interstate Facilities To Transmit
Information About A Minor.

 

 

 

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Case no.

Notice / Reservation of Rights

I, Louis Holger, operating in my official capacity as an Article III United States
Supreme Court Justice, in this Article III United States Supreme Court of Record now
reserve all rights granted to me by the United States Constitution, Alaska State
Constitution, .The Unanimous Declaration of Independence, The United States Bill of
Rights, and the United Nation's Universal Declaration of Human Rights.

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Notice of Claims / Affidavit

I, Inupiaq Prince Louis Holger, operating in my official capacity as a bona fide,
elected not appointed, Article III United States Supreme Court Justice, in this Article
IIL United States Supreme Court of Record state the following:

Attachment 1 is a counterclaim that I filed onto the United States Public Record,
via the United States District Court for the District of Alaska on June 11, 2018. This
corrent lawsuit, and the entirety of its substance, shall be derived from the entirety
of the substance contained in the counterclaim, at attachment 1, filed onto the United
States Public Record, via the United States District Court for the District of Alaska on
June 11, 2018.

In addition, I will be adding to the substance of this lawsuit, in the form of. .
portions of the UNITED STATES QODE, and the Federal Rules of Civil Procedure to be used
as additional authority.

 

TITLE 25 UNITED STATES CODE. INDIANS. CHAPTER 5. PROTECTION OF INDIANS. §175. United
States Attorneys to represent Indians.

In all States and Territiries where there are reservations or allotted Indians the ..:..;
United States District Attorney (United States Attorney) shall represent them in all
suits at law and in equity.

I, Louis Holger (dba LOUIS HOLGER EKLUND Inc., CUSIP/AUTOTRIS # 574369832. Lawful
Money 12 USC §411) being an enrolled member of the federally recognised tribe Native
Village of Kotzebue, and a shareholder in the native corporation NANA REGIONAL
CORPORATION Inc., now exprcise my: right, under 25 USC §175, to be represented by a
United States District Attorney, and call upon a United States District Attorney to
help protect me, as required by law codified at 25 USC. CHAPTER 5. PROTECTION OF INDIANS
§175. United States Attorneys to represent Indians.

Federal Rules of Civil Procedure. Title III. Pleadings and motions. Rule 8. General ule
rules of pleading.
Rule 8. General Rules of Pleading.
(b) Defenses; Admissions and denials.
(1) In general. In responding to a pleading, a party must:
(ay state in short and plain terms its defenses to each claim asserted against
it; and
(B) admit or deny the allegations asserted against it by an opposing party.
(2) Denials - Responding to the substance. A denial must fairly respond to the
substance of the allegation.
(6) Effect of failing to deny. An allegation - other than one relating to the |.
ammount of damages - is admited if a responsive pleading is required and the
allegation is not denied......
(c) Affimnative defenses.
(2) Mistaken designation. If a party mistakenly designates a defense as a ;
counterclaim, or a counderclaim as a defense, the court must, if justice requires,
treat the pleading as though it were correctly designated.

 

 

 

I, Louis Holger,. would like to point out the fact that not only have the counter-
defendants failed to respond to the substance of each allegation, but they have all
campleetly failed to provide any type of response (other than further violation of my
human rights, constitutional rights) what-so-ever. This is, by their own rules, equal
to having admitted to each of the allegations!!!!!

 

 

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Federal Rules of Civil Procedure. Title II. Commencing an action; Service of process,
pleadings, motions, and orders. Rule 4. Summons.
Rule 4. Summons.
(c) Service.
(3) By a Marshal or someone specially appointed. At the plaintiff's request, the
court may order that service be made by a United States Marshal or deputy marshal
or by a person specially appointed by the court. The court must so order if the
plaintiff is authorized to proceed in forma pauperis under 28 USC §1915 or as a
seaman under 28 USC § 1916

I, Louis Holger, now exorcise my right granted to me by FRCP Rule 4(c)(3) and
request (peacefully demand) that the court serve priicess on all named defendants,
beginning with AMERICAN. BRITISH ACCREDITED REGISTRY ASSOCIATION Inc., attornies Timothy
Mark Burgess, Gary George Colbath, Jonas M. Walker and United States Marshal Ryan,
(United States Marshal Ryan operates out of the United States District Court House
located at 222 West 7th Avenue. Anchorage, Alaska. 99513. I have made multiple
attempts to get his last name, since I've been falsely imprisoned, and every attempt
has failed. I have asked Gary George Colbath to provide me with United States Marshal

an's last name, and le has not provided it to me). The summons, an @ initia
Beso (this current document) are by law required to contain the proper seals, and
signatures, pirsuant with;
TITLE 28 UNITED STATES CODE. JUDICIARY AND JUDICIAL PROCEDURE. PART :V. PROCEDURE.
CHAPTER 113 PROCESS. § 1691. Seal and teste of process.
All writs and process issuing from a court of the United States shall be under the seal
of the court and signed by the clerk thereof.

TITLE 1 UNITED STATES CODE. General Provisions. CHAPTER 2. ACTS AND RESOLUTIONS:
FORMALITIES OF ENACIMENT; REPEALS; SEALING OF INSTRUMENTS. §114 Sealing of instruments.
In all cases where a seal is necessary by law to any commission, process, a other
instrument provided for by the laws of Congress, it shall be lawful to affix the proper
seal by making an impression therewith directly m the paper to which such seal is
necessary, which shall be as valid as if made on wax or other adlesive substance.

AMERICAN BRITISH ACCREDITED REGISTRY ASSOCIATION Inc., attorneys Timothy Mark
Burgess, Jonas M. Walker have proven themselves to be orchestrators of violent
pedophilia, violent child molestations, violent child abuse, violent rapes, kidnapping,
child human trafficking, child human sex trafficking, human trafficking, human sex
trafficking of innocent women, and innocent children, and innocent fathers. United
States Marshal Ryan is one of their corrupted, dirty “law.enforcement officers” who
does their dirty work, and lms proven beyond any reasonable doubt that he is an avid
supporter of violent pedophiles, violent child molesters, violent child abusers, and
violent rapists, in the business of buy ing and selling, innocent women and children
to be used in commercial sex acts, and United States Marshal Ryan has openly, willingly,
voluntarilly, and seemingly eagerly chosen to go to great lengths to cover up the
kidnapping, child human trafficking, child human sex trafficking, human trafficking,
human sex trafficking, violent pedophile, violent child molestation, violent child
abuse, and violent raping of innocent women and innocent children.scandal that AMERICAN
BRITISH ACCREDITED REGISTRY ASSOCIATION Inc., attorneys Timothy Mark Burgess and Jonas
M. Walker are chief-:orchestrators of. ,

 

 

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Black's Law Dictionary. Tenth Fdition.

accredited -
Of a governmental or diplomatic official approved to act as an official representative
for one's home country while serving in a foreign country.

association -
A gathering of people for a common purpose; the persons so joined.

registry -
A place where information used by an organization is kept, esp the official records and
LESES Se aes

Based upon the above legal deffinitions, from Black's Law Dictionary Tenth Edition,
all AMERTCAN BRITISH ACCREDITED REGISTRY ASSOCIATION INC., attorneys are British
diplomatic officials, representing England / Great Britain, serving here in our nation,
gathering for their common purpose, and depositing their written records into their
registry.

Their common purpose, has been proven beyond any reasonable doubt, is clearly to
orchestrate the rapes of our women and children, and the theft of our nation and our
nation's natural resources, all while falsely purporting to be "public servants" of our

 

 

Imposters!!!! False Personaters!!!! Con Artists!!!! Violent pedophiles!!!! Violent child
molesters!!!!! VIOLENT CHILD ABUSERS!!TT!! VIOLENT RAPISTS! !t!l AND THEY NEED TO BE HELD

 

Demand For Redress Of Grievance.

I, Louis Holger, demand that all named defendants be immediately taken into custody, for
the safety and security of the public. The named defendants have orchestrated violent
pedophilia, violent child molestations, violent child abuse, violent rapes, and violent
kidnappings, and sold innocent women and innocent children into child sex trafficking,
human sex trafficking, corporations, falsely claiming them to be our nation's government
agencies. Corrupted, dirty, cowardly "law enforcement agents" such as United States
Marshal Ryan:assist them by doing their dirty work, and covering up the violent: sex
crimes against humanity. In the name of Truth, Light, Love, Forgiveness, and In The Best
Interest of Justice I additionally demand that all honorable, courageous, valliant,
truthful, just, and moral human beings make a peaceful demand that these individuals be
immediately held accountable for the atrocious crimes that they have had perpetrated
upon the innocent women, innocent children, and innocent children of our nation. The
People Of the United States!

I additionally demand that $1,000,000.00 redeemed in lawful money be paid to each
individual People of the United States. That is $1,000,000.00 to each individual.

I additionally demand the complete and total reformation of UNITED STATES OF AMERICA
Inc., and the immediate shutdown of the FEDERAL RESERVE SYSTEM INC., and the complete
and total resoration of Lawful Money onto the Global Platorm.

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“Louis Holger _/ crVAC \
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Supreme Court Justice Sill pnts AE
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